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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 LBS INNOVATIONS, LLC,                        §
                                              §          Civil Action No. 2:11-cv-407
 v.                                           §
                                              §                  LEAD CASE
 BP AMERICA, et al,                           §

 LBS INNOVATIONS, LLC,                        §
                                              §          Civil Action No. 2:11-cv-409
 v.                                           §
                                              §               CONSOLIDATED
 SALLY BEAUTY SUPPLY LLC, et al,              §

 MICROSOFT CORPORATION,                       §
                                              §          Civil Action No. 2:12-cv-759
 v.                                           §               CONSOLIDATED
                                              §
 LBS INNOVATIONS, LLC,                        §

        ORDER GRANTING JOINT STIPULATED MOTION FOR DISMISSAL

       The Joint Stipulated Motion for Dismissal of all claims and counterclaims asserted

between Plaintiff LBS Innovations, LLC (“LBSI”) and Defendants American Express Company,

Choice Hotels International, Inc., ConocoPhillips Company, Costco Wholesale Corporation,

Hyatt Corporation, JPMorgan Chase & Co., KeyCorp/KeyCorp Finance, Inc., The Kroger Co.,

Sally Beauty Supply LLC, Starbucks Corporation d/b/a Starbucks Coffee Co., Target

Corporation, U.S. Bancorp, Wells Fargo & Company Bank, N.A., (collectively “Defendants”),

and Declaratory Judgment Plaintiff Microsoft Corporation (“Microsoft”) (Dkt. No. 564) is

GRANTED.

       It is therefore ORDERED, ADJUDGED AND DECREED that all claims and

 counterclaims asserted in this suit by Plaintiff LBSI against Microsoft and the Defendants

 (except American Express Company) are hereby DISMISSED WITH PREJUDICE. It is

 further ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in


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this suit by Microsoft against LBSI are hereby DISMISSED WITH PREJUDICE. In is further

ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in this

suit by the Defendants (except American Express) are hereby DISMISSED WITHOUT

PREJUDICE.

      It is additionally ORDERED, ADJUDGED AND DECREED that all claims and

counterclaims asserted in this suit by Plaintiff LBSI against Defendant American Express
     .
Company are hereby DISMISSED WITH PREJUDICE except to the extent that any claim or

counterclaim involves Defendant American Express Company’s use of MapQuest, Inc. mapping

services. It is further ORDERED, ADJUDGED that all claims and counterclaims asserted by

American Express Company against LBSI are hereby DISMISSED WITHOUT PREJUDICE.

      It is further ORDERED that all costs, expenses and attorneys’ fees are to be borne by the

party that incurred them.
         SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 24th day of January, 2014.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE




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